         Case 2:24-cv-04008-GRB-AYS Document 4 Filed 06/04/24 Page 1 of 2 PageID #: 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                 Eastern District of New York

                      Elvira Sarai Garcia                      )
                                                               )
                                                               )
                                                               )
                            Plaintiff(s)                       )
                                                               )
                                V.                                     Civil Action No. 2:24-cv-04008-GRB-AYS
                                                               )
 San Eduardo Deli & Bakery, Inc., Rogelio Canales,             )
                  Walter Canales
                                                               )
                                                               )
                                                               )
                           Defendant(s)                        )

                                                SUMMONS IN A CIVIL ACTION

To: 1/D  .r. d   ,        d ddress) San Eduardo
      , e1 en ants name an a             .       Deli & Bakery, Inc. - 40 Jerusalem
                                                                               .    .Avenue, Hicksville, New York
                                                                                                                  11801
         •                          Rogelio Canales - 40 Jerusalem Avenue, H1cksv1lle, New York 11801
                                    Walter Canales - 40 Jerusalem Avenue, Hicksville, New York 11801




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: The NHG ~aw Group, P.C.
                                4242 Merrick Road
                                Massapequa, New York 11758
                                (516) 228-5100




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                          BRENNA B. MAHONEY
                                                                          CLERK OF COURT


Date:
                6/4/2024                                                          ~ Oak6~~-
                                                                                   Signature ofc)ierk or Deputy Clerk
          Case 2:24-cv-04008-GRB-AYS Document 4 Filed 06/04/24 Page 2 of 2 PageID #: 23

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                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

          0 I returned the summons unexecuted because                                                                               ; or

           0 Other (specify):




          My fees are$                             for travel and $                   for services, for a total of$          0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                             Server's signature


                                                                                         Printed name and title




                                                                                             Server 's address

Additional information regarding attempted service, etc:
